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                      IN THE UNITED STATES DISTRICT COURT
                                    FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Martin Glotzer
,

Plaintiff(s),
                                                    Case No. 16-cv-11242
v.                                                  Judge Sara L. Ellis

The Femail Health Company et al,

Defendant(s).

                                          ORDER

Pursuant to agreed stipulation to remand [12] this case is remanded to the Cook County
Chancery Division, Calendar 2 (Honorable Rodolfo Garcia). Each party bears its own fees and
costs with respect to remanding this case back to state court.




Date: 12/27/2016                                  /s/ Sara L. Ellis
